                   On Petition for Rehearing.
Each side has filed a petition for a rehearing and additional findings of fact. *Page 397 
1. The complainant, W.J. Culwell, asks that we find that he went into possession of said property and held adverse possession for more than seven years after his son delivered the deed and possession to him, and he asks us to hold that he has a possessory right which he may enforce in this case.
We find that G.H. Culwell delivered possession of said land to W.J. Culwell in 1924, and that W.J. Culwell has held the adverse possession of it from that time until the present.
We hold that complainant, being in actual possession of said property, has a possessory right to the extent of the boundaries. Choate v. Sewell, 142 Tenn. 487, 492, 221 S.W. 190.
This possessory right is good against the creditors of G.H. Culwell, trespassers and others. Moore v. Dinning, 158 Tenn. 374,13 S.W.2d 798; Tuggle v. Southern Railway Co.,140 Tenn. 275, 204 S.W. 857. And this possessory right may be protected by injunction. Walker v. Fox, 85 Tenn. 154, 2 S.W. 98; Tuggle v. Southern Railway Co., supra.
But, as held by us, this did not give him the legal title to said property. Gaylor v. Gaylor, 1 Tenn. App. 645.
2. The defendant Dorothy H. Culwell has filed a petition for a rehearing and additional findings of fact, in that, (a) she insists that W.J. Culwell told her that the land belonged to G.H. Culwell, and that he was holding it for him, and (b) the present suit was filed subsequently to the suit filed by her in the same court to enforce the decree for alimony.
We hold that Dorothy H. Culwell and her mother testified that W.J. Culwell told them that the land belonged to G.H. Culwell and that he was holding it for him, but we are of the opinion and hold that W.J. Culwell stated to her, at the time, that the place was his (not G.H. Culwell's but W.J. Culwell's) and that he showed her the notes and the original deed that had been returned to him, and stated to her that G.H. Culwell had not paid a dollar of the purchase money. However, we hold that this is immaterial, and cannot affect the result.
We also find that Mrs. Dorothy H. Culwell filed her bill in the Chancery Court in Cheatham County to enforce her lien for alimony before W.J. Culwell filed the bill in this case. These facts are shown in the original bill filed in this cause. But we are also of the opinion that this is immaterial.
It results that the petitions for additional findings of fact are granted and the facts are found as hereinabove stated, but the petitions for a rehearing are in all other respects denied.
Faw, P.J., and Felts, J., concur. *Page 398 